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14
                   IN THE UNITED STATES DISTRICT COURT
15               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
16
      Becton, Dickinson and Company,          Case No. 21-cv-1173-CAB-NLS
17    Sirigen, Inc., and Sirigen II
18    Limited,                                DEFENDANT BECKMAN
                                              COULTER, INC.’S EX PARTE
19                      Plaintiffs,           MOTION TO STAY PENDING
20                                            INTER PARTES REVIEW
      v.
21
22    Beckman Coulter, Inc.

23                      Defendant.
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                                       Case No. 21-cv-1173-CAB-NLS
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 1         Defendant Beckman Coulter Inc. (“Beckman”) respectfully moves this Court to
 2   stay this litigation in its entirety pending a decision on institution in Inter Partes
 3   Review (“IPR”) Nos. IPR2022-01203, -01204, -01205, -01206, -01207, and -01208,
 4   which challenge every patent claim that Plaintiffs Becton, Dickinson and Company,
 5   Sirigen, Inc., and Sirigen II Limited (collectively, “Plaintiffs”) are still asserting in this
 6   case. During the coming six months—the approximate window during which the
 7   Patent Trial and Appeal Board (the “PTAB”) will decide whether to institute trial—
 8   the parties are scheduled to conduct the bulk of fact and expert discovery, including
 9   on the validity issues now before the PTAB. Because the IPRs are poised to resolve
10   those issues once and for all, a stay would allow the parties to focus that discovery on
11   other issues (if anything is left of the case following the IPRs) and would eliminate a
12   tremendous amount of unnecessary work for the Court, the parties, and the witnesses
13   if IPRs are instituted. Because these burdens will be realized imminently, Beckman
14   moves ex parte so that the issue may be resolved before the parties engage in
15   extensive and costly deposition practice.
16         And the IPRs are highly likely to be instituted. As the Court may recall from
17   the preliminary injunction and claim construction proceedings in this case, Plaintiffs’
18   asserted patent claims, which are directed to conjugated polymer dyes, are
19   staggeringly broad. In many instances, under the Court’s construction where most
20   units are “optional”—a construction urged by Plaintiffs—the claimed dyes encompass
21   a single repeating polymer unit with next to no structural limitation at all. ECF No.
22   140 (claim construction order). In its IPR petitions, Beckman has advanced, inter
23   alia, two separate anticipation grounds, as well as single-reference obviousness
24   grounds covering many of the claims. Beckman submits that this is not a close case;
25   the claims are plainly invalid. This Court need not decide whether the asserted patent
26   claims are likely to be invalidated, however. That question is before the PTAB—and
27   it would be most efficient for both the parties and the Court to let the PTAB rule on it
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 1   before expending further resources here.1
 2           Under the three-factor test that courts in this district apply, this Court should
 3   grant a stay pending the PTAB’s institution decision. See Koss Corp. v. PEAG, LLC,
 4   No. 21-CV-1177-CAB-JLB, 2021 U.S. Dist. LEXIS 192177, at *2 (S.D. Cal. Oct. 5,
 5   2021) (enumerating factors). First, a stay is virtually certain to simplify the issues
 6   before the Court, likely focusing the disputes even were the PTAB not to institute.
 7   Second, the case remains in its early stages, with the parties just beginning the most
 8   intensive phase of discovery, no depositions yet taken, and no trial date set. Third,
 9   given the modest damages at stake and Plaintiffs’ failure to demonstrate the prospect
10   of any irreparable harm in their bid for a preliminary injunction, a six-month stay
11   while the PTAB considers institution will not prejudice Plaintiffs. As it has in other
12   cases, the Court should grant Beckman’s motion for a stay “pending the PTAB’s
13   decisions whether to institute IPR.” Qualcomm Inc. v. Apple Inc., No. 3:17-CV-2403-
14   CAB-MDD, 2018 WL 4104966, at *3 (S.D. Cal. Aug. 29, 2018).
15   I.      BACKGROUND
16           This is a patent infringement action concerning conjugated polymer dyes, a type
17   of fluorescent dye used in flow cytometry and marketed by both Plaintiff Becton
18   Dickinson, Inc., and Beckman, among others. Plaintiffs filed this action in June 2021,
19   along with a motion for preliminary injunction seeking to remove from the market a
20   line of polymer dyes launched by Beckman earlier that year. Following briefing and
21   oral argument, this Court denied that motion. ECF No. 66. In so doing, the Court
22   ruled that at the preliminary stage Beckman had identified “significant challenges
23   based on” two prior art references that Beckman raised in opposition to the motion—
24   two references Beckman now has raised again before the PTAB. Ex. 1 (Motion for
25
26   1
      Between October 1, 2021 and May 31, 2022, the PTAB instituted IPR on 65% of
27   petitions and 70% of patents. See U.S. Patent & Trademark Office, PTAB Trial
     Statistics (May 2022), available at https://www.uspto.gov/sites/default/files/
28   documents/ptab_aia_20220531_.pdf.
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 1   Preliminary Injunction Hearing Transcript (Oct. 14, 2021)) at 41. The Court thus
 2   concluded that Plaintiffs failed to establish a likelihood of success on the merits. Id.
 3   In addition, the Court ruled that there was no irreparable harm warranting a
 4   preliminary injunction, including because Plaintiffs had failed to show that any loss of
 5   sales would not be compensable. Id. at 41–42. The Court also noted that because
 6   “there haven’t been significant enough sales,” and because the alleged reputational
 7   harms were “speculative,” none of the other harms alleged, even if ultimately
 8   demonstrated, were irreparable. Id. at 42. The Court accordingly denied Plaintiffs’
 9   motion on October 14, 2021. ECF No. 66. In the months since then, the case has
10   proceeded into discovery.
11         On May 26, 2022, this Court held a claim construction hearing, at which it
12   construed three terms. As relevant to this stay motion, Beckman has submitted the
13   Court’s ruling to the PTAB with the IPR petitions, and it has argued that the patents
14   are unpatentable, including under those constructions. As the Court recognized at the
15   hearing, a principal dispute between the parties concerned whether the “MU” term
16   was optional—an issue on which the Court ruled for Plaintiffs, but in so doing,
17   broadened the claims and thus potentially strengthened Beckman’s validity case even
18   as it eliminated one of Beckman’s non-infringement defenses.
19         Beckman now has timely filed six petitions for IPR, corresponding to the six
20   patents Plaintiffs have elected to keep in the case. IPR Nos. IPR2022-01203, 01203, -
21   01204, -01205, -01206, -01207, and -01208. As the Court will recall, this represents a
22   much narrowed case. On March 15, 2022, the Court ordered Plaintiffs to narrow their
23   infringement assertions from more than 300 claims to no more than 30, ECF No. 106,
24   and Plaintiffs provided those elections on March 31, 2022. Beckman’s IPRs cover all
25   30 of those claims, as well as other claims of the same patents that Beckman has
26   argued are invalid over the same art. Under PTAB practice, an institution decision is
27   expected approximately six months from the filing date. 35 U.S.C. § 314.
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 1   II.   ARGUMENT
 2         This Court “has broad discretion to control its own docket—including the
 3   discretion to stay proceedings.” Taction Tech., Inc. v. Apple Inc., No. 21-CV-812
 4   TWR (JLB), 2022 WL 228978, at *1 (S.D. Cal. Jan. 26, 2022) (citing Clinton v.
 5   Jones, 520 U.S. 681, 706 (1997)). Staying infringement proceedings pending IPRs
 6   not only can enhance judicial efficiency, but can further Congress’s purpose in
 7   creating IPR proceedings—creating “a quick, inexpensive, and reliable alternative to
 8   district court litigation.” Cuozzo Speed Techs., Inc. v. Lee, 579 U.S. 261, 278 (2016)
 9   (quoting S. Rep. No. 110-259, at 20 (2008)).
10         Although a stay often follows IPR institution, this Court and others in this
11   district also have recognized that these considerations may warrant granting a stay
12   upon the filing of an IPR petition. Taction, 2022 WL 228978, at *2 (granting stay
13   pending decision on whether to institute IPRs); Qualcomm, 2018 WL 4104966, at *3
14   (granting stay “pending the PTAB’s decisions whether to institute IPR”); Finjan, Inc.
15   v. ESET, LLC, No. 17-CV-00183-CAB-BGS, 2018 WL 2095734, at *2 (S.D. Cal.
16   May 7, 2018) (granting stay pending institution decision on proceedings as to patent
17   where IPR had been filed). In these circumstances, courts typically order the parties
18   to provide a status report following the PTAB’s institution decisions, and, if
19   appropriate, to request that the stay continue. Taction, 2022 WL 228978, at *3
20   (denying-in-part stay request as to the period after institution, and instead requiring
21   the parties to file a status report within 7 days of the IPR institution decision). This is
22   the relief Beckman seeks here.
23         Courts in this district “consider three factors to determine whether to impose a
24   stay pending parallel proceedings before the PTAB: (1) whether a stay will simplify
25   the issues in question and trial of the case, (2) whether discovery is complete and a
26   trial date set, and (3) whether a stay would unduly prejudice or present a clear tactical
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 1   disadvantage to the nonmoving party.” Taction, 2022 WL 228978, at *1 (citing
 2   Qualcomm, No. 3:17-CV-2403-CAB-MDD, 2018 WL 4104966, at *1).2
 3          In this case, each of the factors weighs strongly in favor of granting a stay.
 4          A.    A Stay Will Simplify the Issues in the Case.
 5          The first factor, “whether a stay will simplify the issues in question and trial of
 6   the case,” is clear-cut: it will do so. An “IPR can help streamline a case because
 7   ‘when a claim is cancelled, the patentee loses any cause of action based on that claim,
 8   and any pending litigation in which the claims are asserted becomes moot.’” Taction,
 9   2022 WL 228978, at *2 (quoting Fresenius USA, Inc. v. Baxter Int’l, Inc., 721 F.3d
10   1330, 1340 (Fed. Cir. 2013)). Here, Beckman has challenged every claim asserted
11   against it, meaning that if Beckman is successful in its challenges, the case is over—
12   the issues and trial will not merely be simplified, but wholly unnecessary. The facts
13   that the claims are all in one patent family, that they are similar to one another, and
14   that Beckman alleges the same prior art cuts broadly across those claims, only
15   heighten the likelihood the pending IPRs will end the case.
16          Moreover, if an IPR is instituted but Beckman does not prevail, or prevails as to
17   only some claims, the PTAB’s final written decision will give rise to a statutory
18   estoppel that is likely to eliminate certain anticipation or obviousness defenses under
19   35 U.S.C. §§ 102 or 103.3 See 35 U.S.C. § 315(e)(2). As the Taction court observed,
20
     2
21    When courts deny pre-institution stay requests, they typically do so without prejudice
     to renewing the request if the PTAB institutes trial, and if the Court denies Beckman’s
22
     request, Beckman respectfully requests that it similarly do so without prejudice. See,
23   e.g., Bell N. Rsch., LLC v. CoolPad Techs., Inc., No. 18-CV-1783-CAB-BLM, 2019
     WL 3782183, at *1 (S.D. Cal. Aug. 12, 2019).
24
     3
       The statutory estoppel extends to defenses that were “raised or reasonably could
25   have been raised” in the IPR proceedings. 35 U.S.C. § 315(e)(2); see, e.g., Am. GNC
26   Corp. v. LG Elecs. Inc., No. 17-CV-01090-BAS-BLM, 2018 WL 1250876, at *3 (S.D.
     Cal. Mar. 12, 2018); see also TAS Energy, Inc. v. San Diego Gas & Elec. Co., No.
27   12CV2777-GPC BGS, 2014 WL 794215, at *4 (S.D. Cal. Feb. 26, 2014) (“Even if all
28   the asserted claims survive inter partes review, the case could be simplified because

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 1   this “binary outcome weighs in favor of a ‘limited stay of proceedings until the PTAB
 2   issues its decision.’” 2022 WL 228978, at *2 (quoting Qualcomm, 2018 WL
 3   4104966, at *2). For this reason, courts in this district routinely have concluded that
 4   IPRs will narrow the issues and that the first factor is met, except where the IPRs in
 5   question address only a subset of the patents at issue. Compare Taction, 2022 WL
 6   228978, at *2; Qualcomm, 2018 WL 4104966, at *1; Wi-LAN, Inc. v. LG Elecs., Inc.,
 7   No. 3:17-cv-00358-BEN-MDD, 2018 WL 2392161, at *1 (S.D. Cal. May 22, 2018)
 8   (all granting pre-institution stays where all asserted patents are subject to IPR), with
 9   Finjan, 2018 WL 2095734, at *2 (granting pre-institution stay only as to patent
10   subject to IPR), and Bell N. Rsch., 2019 WL 3782183, at *1 (denying pre-institution
11   stay where fewer than all patents and parties were involved in IPR). It makes no sense
12   for the parties to plow ahead with extensive fact and expert discovery regarding
13   defenses that are likely to be eliminated by the IPR proceedings regardless of which
14   party prevails.
15         The fact that the PTAB has not yet instituted review does not change this
16   calculus, for two reasons. First, this Court and others in this district repeatedly have
17   recognized that even though “review is not guaranteed,” the costs of a “limited stay”
18   for the few months it will take the PTAB to decide whether to institute review
19   “outweigh[] the risk of unnecessary expenditure of resources before the determination
20   to institute or not.” Qualcomm, 2018 WL 4104966, at *2 (citing Am. GNC, 2018 WL
21   1250876); see, e.g., Taction, 2022 WL 228978, at *2 (concluding that “the potential to
22   save the parties and the Court from expending resources during the waiting period
23   weighs in favor of a temporary stay”); Am. GNC, 2018 WL 1250876, at *3 (noting
24   that “the stay would last six months at most” if the PTO were to decline institution
25   and finding that “the limited nature of a stay in such circumstances far outweighs the
26
27   Defendant would be bound by the estoppel provisions for inter partes review and
     could not raise any arguments it raised or reasonably could have raised at the PTO in
28   its petition.”).
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 1   risk of unnecessary expenditure of judicial resources before that determination”); see
 2   also Omnitracs, LLC v. Platform Sci., Inc., No. 20-CV-0958-JLS-MDD, 2021 WL
 3   857005, at *7 (S.D. Cal. Mar. 8, 2021) (granting a stay pre-institution and planning to
 4   “revisit whether the stay should be lifted when the PTAB issues its latest institution
 5   decision”); Irori Techs., Inc. v. Luminex Corp., No. 13-CV-2647-BEN (JLB), 2014
 6   WL 12279505, at *4 (S.D. Cal. July 16, 2014) (granting a temporary stay until it was
 7   determined that no IPR would take place or the conclusion of IPR proceedings and
 8   appeals). That is, given the relatively short time window before an institution
 9   decision, the first stay factor is properly evaluated based on whether IPR proceedings
10   will narrow the issues if they are instituted, not whether the issues will be narrowed
11   even if institution is denied.
12         Second, this is a case involving complicated technology and a large number of
13   claims and validity defenses. The PTAB’s institution decision is likely to address the
14   merits of the anticipation and obviousness defenses in a manner that will inform what
15   prior art defenses are presented in this Court, even in the event institution is denied.
16   Knowledge of whether the PTAB has instituted also is likely to affect how the parties
17   further narrow their claims and defenses. It would be much more efficient for the
18   remainder of fact discovery, and in particular for expert discovery, to take place once
19   the parties have the PTAB’s guidance regarding the anticipation and obviousness
20   defenses that Beckman presented in the petitions.
21         In short, this is a case in which the IPRs have a strong likelihood of eliminating
22   or at least narrowing the issues in dispute, regardless of their outcome.
23         B.     The Stage of Litigation Favors a Stay.
24         The second factor in the stay calculus, “whether discovery is complete and a
25   trial date set,” Taction, 2022 WL 228978, at *1, also favors a stay. While the case is
26   scheduled for a pre-trial conference in May 2023, no trial date has been set. Fact
27   discovery is ongoing—document production is substantially complete, but no
28   depositions have been taken. Courts in this district routinely have granted stays

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 1   pending IPR at similar or later stages of litigation. Id. (granting stay following
 2   document production but before fact depositions); see also Am. GNC, 2018 WL
 3   1250876, at *2 (granting stay because “a significant amount of work still remain[ed]
 4   such as expert discovery, summary judgment motions and trial” (quotation marks
 5   omitted)); TAS Energy, 2014 WL 794215, at *3 (granting stay even though “the case
 6   [was] not in its early stages,” parties were “in the midst of discovery,” and claim
 7   construction briefs were filed, because a “significant amount of work still remain[ed]
 8   such as expert discovery, summary judgment motions and trial”); Omnitracs, 2021
 9   WL 857005, at *3 (granting a stay pre-institution after parties had served and
10   responded to document requests and interrogatories but before a trial date was set).
11         The stage of the case, in fact, is a reason why staying the case now would be
12   particularly efficient, and is part-and-parcel of why Beckman moves ex parte. The
13   parties are about to embark on a resource-intensive phase of the case. While no
14   depositions have yet been taken (besides the handful of depositions associated with
15   preliminary injunction proceedings in the first months of this case), both sides intend
16   to take multiple fact depositions over the next several weeks. Plaintiffs already have
17   requested in-person depositions of witnesses who live and work in Europe,
18   necessitating the time and expense of international travel. And Plaintiffs just last
19   week served a deposition notice under Rule 30(b)(6) listing more than sixty topics on
20   which they seek corporate testimony from Beckman. In addition, the parties already
21   have had a number of discovery disputes and are likely to have more, including some
22   that require intervention from the Court. Fact discovery is currently scheduled to
23   close on August 17, 2022.
24         All discovery, including expert discovery, is then scheduled to close on
25   December 14, 2022. Given the complex chemistry at issue in this case, expert
26   discovery will require reports and depositions from multiple technical witnesses, as
27   well as economic experts who can address issues of damages and injunctive relief.
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  1         As discussed in connection with the first factor, all of this fact and expert
  2   discovery may be unnecessary, or its scope narrow considerably, depending on the
  3   outcome of the IPRs. Yet, all of it is scheduled to happen before the PTAB’s
  4   decision, which can be expected by the end of 2022. See 35 U.S.C. § 314(b).
  5         Finally, while courts have sometimes noted the fact that claim construction had
  6   not yet occurred as a factor favoring a stay, because the court might benefit from the
  7   decision of the PTAB, the converse is not true. The fact that claim construction
  8   proceedings have occurred in this case is not a reason to deny a stay. FastVDO LLC v.
  9   AT&T Mobility LLC, No. 3:16-cv-00385-H-WVG, 2017 WL 2323003, at *3 (S.D.
 10   Cal. Jan. 23, 2017) (granting stay after (1) the parties had exchanged their respective
 11   infringement and invalidity contentions; (2) the court had issued a claim construction
 12   order; (3) the parties had completed fact discovery; (4) expert discovery was well
 13   underway with the parties having exchanged opening expert reports and rebuttal
 14   expert reports; and (5) the trial date was only three months away); see also, e.g.,
 15   Procter & Gamble Co. v. CAO Grp., Inc., No. 1:13-cv-337, 2014 WL 3573597, at *2
 16   (S.D. Ohio July 21, 2014) (granting stay after claim construction proceedings in view
 17   of IPR petition that had not yet been instituted). If anything, claim construction here
 18   has made it more likely that institution will be granted, given the breadth of the
 19   claims.4
 20         C.     A Stay Will Not Prejudice Plaintiffs—and the Equities Favor a Stay.
 21         The final factor for the Court to consider is whether a stay will prejudice
 22   Plaintiffs. See Am. GNC, 2018 WL 1250876, at *4 (“The inquiry a court makes in
 23   assessing prejudice is ‘whether a stay would unduly prejudice or present a clear
 24   tactical disadvantage to the nonmoving party.’” (quoting Medicis Pharm. Corp. v.
 25   Upsher-Smith Labs., Inc., 486 F. Supp. 2d 990, 993–94 (D. Ariz. 2007))). It will not.
 26   This is a case seeking relatively modest money damages from a decades-old leader in
 27
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      4
       Two of the three terms at issue before the Court at claim construction relate
      principally to infringement, and are not at issue in the PTAB proceedings.
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  1   the industry, see ECF No. 43-1 at 20; there is no basis to conclude that Plaintiffs will
  2   fail to be compensated if the patents survive IPR and ultimately are found to be valid
  3   and infringed. And as to other, non-monetary injuries, the same reasons why this
  4   Court already determined that there was no irreparable harm warranting a preliminary
  5   injunction similarly mean there would be no prejudice from a stay. Simply put,
  6   Plaintiffs’ alleged injuries are compensable with money damages. Waiting a few
  7   more months to collect—or for Plaintiffs’ damage claim to grow slowly—is a modest
  8   price to pay for the efficiencies of a stay.
  9          In fact, the equities of this case make this factor count, if at all, in favor of
 10   Beckman. The reason why Beckman did not file IPRs months ago is that until the end
 11   of March 2022, the number of claims and patents in this case made them impractical:
 12   Plaintiffs asserted more than 300 claims and 13 patents. Filing IPRs on that many
 13   claims and patents would have been a herculean undertaking—and an unwarranted
 14   one, given the Court’s directive at the preliminary injunction hearing that the case
 15   should narrow. The filing fees alone on that many claims would have totaled in
 16   excess of $600,000, to say nothing of attorney and expert fees. See 37 C.F.R.
 17   § 42.15(a). Since Plaintiffs elected 30 claims to pursue in the next stages of the case,
 18   Beckman has worked diligently to prepare IPRs, and the time since March has been
 19   necessary. For example, the IPR filings necessitated and included a 385-page
 20   declaration from Beckman’s expert. Under these circumstances, Plaintiffs should not
 21   be heard to complain that they are prejudiced by a modest stay pending IPR
 22   institution, nor, if institution is granted, by a longer stay for the PTAB to adjudicate
 23   this highly technical case.
 24   III.   CONCLUSION
 25          For all the foregoing reasons, this Court should grant a stay while the PTAB
 26   decides whether to institute IPR on the patents-in-suit. Beckman respectfully requests
 27   such a stay of all case deadlines pending institution, and that the parties be directed to
 28   file a status report with their respective positions on whether the stay should be

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  1   continued no later than seven days after the PTAB issues the last of the six institution
  2   decisions on Beckman’s IPR petitions.
  3
      Dated: July 6, 2022                      Respectfully submitted,
  4
  5                                            /s/ David M. Krinsky
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